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15

16                              UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
18                                      OAKLAND DIVISION
19   FEDERAL TRADE COMMISSION,                        Case No. 4:15-cv-01129-HSG
20                Plaintiff,                          STIPULATION AND ORDER
                                                      VOLUNTARILY DISMISSING
21         vs.                                        THE ACTION PURSUANT TO FED. R.
22                                                    CIV. P. 41(a)(1)(A)(ii)
     DIRECTV, a corporation, and DIRECTV, LLC,
     a limited liability company,                     Assigned to: Hon. Haywood S. Gilliam, Jr.
23
                  Defendants.
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                                                                          Case No. 4:15-cv-01129-HSG
                    STIPULATION AND ORDER VOLUNTARILY DISMISSING THE ACTION
                              PURSUANT TO FED. R. CIV. P. 41(A)(1)(A)(II)
           Case 4:15-cv-01129-HSG Document 428 Filed 10/22/18 Page 2 of 4



 1           Plaintiff Federal Trade Commission (FTC) and defendants DIRECTV and DIRECTV,
 2   LLC (collectively “DIRECTV”) stipulate as follows:
 3           WHEREAS, on March 11, 2015, the FTC filed a complaint against DIRECTV (Dkt. No.
 4   1);
 5           WHEREAS, after careful consideration, the parties to this Stipulation have conferred and
 6   believe that this action should be dismissed with prejudice;
 7           WHEREAS, Plaintiffs and Defendants agree that each party will bear their own fees and
 8   costs incurred in connection with this litigation;
 9           NOW, THEREFORE IT IS HEREBY STIPULATED AND AGREED THAT, the FTC
10   and DIRECTV, by and through their undersigned counsel, hereby agree and stipulate to the
11   following:
12           (1) Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the above-captioned action is
13           voluntarily dismissed with prejudice; and
14           (2) Plaintiff and Defendants will bear their own fees and costs.
15

16   Date: October 19, 2018                               Respectfully Submitted,
17

18                                                        By:    /s/ Eric Edmondson
                                                                Eric D. Edmondson
19                                                              Counsel for Plaintiff Federal Trade
                                                                Commission
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21
                                                          By: /s/ Jeff Tillitson
22                                                           Jeffrey M. Tillitson
                                                             Counsel for Defendants DIRECTV and
23                                                           DIRECTV, LLC
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28                                             2                            Case No. 4:15-cv-01129-HSG
                      STIPULATION AND ORDER VOLUNTARILY DISMISSING THE ACTION
                                PURSUANT TO FED. R. CIV. P. 41(A)(1)(A)(II)
         Case 4:15-cv-01129-HSG Document 428 Filed 10/22/18 Page 3 of 4



 1                                       FILER’S ATTESTATION
 2          I am the ECF User whose identification and password are being used to file the foregoing
 3   Parties’ Joint Submission. I hereby attest that the signatory has concurred in this filing.
 4   Date: October 19, 2018
 5                                                        By:    /s/ Eric D. Edmondson
                                                                Eric D. Edmondson
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 1                                            ORDER
 2         PURSUANT TO STIPULATION, IT IS SO ORDERED.
 3

 4   Dated: October 22, 2018
 5                                           __________________________________
                                             HAYWOOD S. GILLIAM, JR.
 6                                           United States District Judge
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28                                          4                            Case No. 4:15-cv-01129-HSG
                   STIPULATION AND ORDER VOLUNTARILY DISMISSING THE ACTION
                             PURSUANT TO FED. R. CIV. P. 41(A)(1)(A)(II)
